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                       IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION

IN RE:                                          §
                                                §
         PROVIDENCE HOSPITAL OF                 §
         NORTH HOUSTON LLC,                     §          CASE NO.: 20-34238
                                                §
                   DEBTOR.                      §          CHAPTER 7


                  TRUSTEE’S WITNESS AND EXHIBIT LIST FOR
         AUGUST 23, 2022 HEARING ON RRL CAPITAL INVESTMENTS, LLC’S
                        NOTICE OF PERFECTED SECURITY
                 INTEREST IN DEBTOR’S PERSONAL PROPERTY
                             (Relates to Docket No. 76)

         Allison D. Byman, the chapter 7 trustee (the “Trustee”), by and through her undersigned

counsel, hereby files her witness and exhibit list (the “Witness and Exhibit List”) for the

video/telephonic hearing scheduled August 23, 2022, at 10:00 a.m. (CST) (the “Hearing”), on

RRL Capital Investments, LLC’s Notice of Perfected Security Interest in Debtor’s Personal

Property. [Docket No. 76].

                                           WITNESSES

The Trustee may call any of the following witnesses at the Hearing:

    1. Any witness called or listed by any other party.

    2. Any rebuttal witnesses as needed.




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                                                 EXHIBITS

               The Trustee may offer into evidence any one of more or the following exhibits:
 Exhibit No.




                                                                                     Objection

                                                                                                 Admitted
                                                                           Offered
                                      Description                                                           Date


 T-1           Memorandum of Understanding dated August 16, 2019
               (ECF No. 79-6)
 T-2           Letter dated November 23, 2020 (ECF No. 79-7)
 T-3           Letter dated March 28, 2022 (ECF No. 79-8)

 T-4           October 2020 Bank Statement

 T-5           UCC Termination Dated December 17, 2020
               (ECF No. 79-4)
 T-6           Assignment of Note and Liens for Loan No. x0541
               (ECF No. 76-1)
 T-7           Assignment of Note and Liens for Loan No. x4023
               (ECF No. 76-2)
 T-8           September 2020 Bank Statement


               Any exhibit designated by any other party.

               Any pleading or other document filed with the Court on
               the docket of the above-captioned chapter 7 case.
               Any exhibit necessary to rebut the evidence or testimony
               of any witness offered or designated by any other party.


               The Trustee reserves the right to amend or supplement the Witness and Exhibit List at any

time prior to the Hearing.




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         DATED: August 19, 2022.

                                       Respectfully submitted,

                                       HUSCH BLACKWELL LLP

                                       By: /s/ Timothy A. Million
                                           Timothy A. Million
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                                              -AND-

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                                              -AND-

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                                       ATTORNEYS FOR ALLISON D. BYMAN,
                                       CHAPTER 7 TRUSTEE




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                                CERTIFICATE OF SERVICE

       I hereby certify that on August 19, 2022, a true and correct copy of the forgoing document
was served on all parties listed as receiving notices via the court’s ECF noticing system.


                                                     /s/ Timothy A. Million
                                                      Timothy A. Million




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